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 1                              UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:21-cr-00174-JAD-DJA
 4
                   Plaintiff,                          ORDER
 5
            v.
 6                                                           ECF No. 20
     LOUIS L. EDWARDS,
 7
                   Defendant.
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10          Based on the parties' stipulation and good cause appearing, IT IS ORDERED that

11   the revocation hearing currently scheduled for December 7, 2021 at 2:00 p.m., be vacated

12   and continued to February 1, 2022, at 1:30 p.m.

13          DATED this 3rd day of December 2021.

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                                                 UNITED STATES DISTRICT JUDGE
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